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14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16
     VERA A. HAYS, individually and on behalf of     Case No.
17   herself and all others similarly situated,
18                                                   CLASS ACTION COMPLAINT
                    Plaintiff,
19           v.                                      DEMAND FOR JURY TRIAL

20    AMERICAN CENTURY CAPITAL           Class Action
      PORTFOLIOS, INC., AMERICAN CENTURY
21    INVESTMENT SERVICES, INC.,
22    AMERICAN CENTURY INVESTMENT
      MANAGEMENT, INC., PATRICK
23    BANNIGAN, JONATHAN THOMAS, R.
      WES CAMPBELL, CHRIS H. CHEESMAN,
24    RAJESH K. GUPTA, C. JEAN WADE,
      THOMAS W. BUNN, BARRY FINK,
25
      ANDREA C. HALL, JAN M. LEWIS, LYNN
26    JENKINS, M. JEANNINE STRANDJORD,
      JOHN R. WHITTEN, and STEPHEN E.
27    YATES,
28                  Defendants.

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 1          Plaintiff Vera A. Hays (“Hays” or “Plaintiff”) alleges the following upon information
 2   and belief except for those allegations as to herself, which are alleged upon personal knowledge.
 3   The allegations are based upon an investigation conducted by and through Plaintiff’s counsel,
 4   which included, inter alia, a review of documents filed with the U.S. Securities and Exchange
 5   Commission (the “SEC”) and other public information. Many of the facts supporting the
 6   allegations contained herein are known only to the Defendants (as defined below) or are
 7   exclusively within their custody and/or control. Plaintiff believes that a reasonable opportunity
 8   for discovery will yield additional, substantial evidentiary support for the allegations herein.
 9                                          INTRODUCTION
10          1.      The American Century Value Fund (the “Fund”) is an open-end mutual fund that
11   invests primarily in domestic and foreign securities. The claims in this action arise out of sales
12   of shares of the Fund pursuant to publicly filed registration statements and prospectuses that
13   misrepresent the Fund’s principal investment strategy.
14          2.      As alleged herein, the Fund’s offering documents and public statements assure
15   investors that its investment strategy is to identify companies whose stock price may not reflect
16   the company’s value, and to purchase the stocks of these undervalued companies and hold each
17   stock until the price has increased to, or is higher than, a level the managers believe more
18   accurately reflects the fair value of the company.
19          3.      Thus, Defendants represent to investors that they actively manage the Fund,
20   including by researching and selecting investments for the Fund. Defendants charge the Fund
21   substantial fees for this purportedly active management.
22          4.      In truth, in managing the Fund, Defendants employ an investment strategy
23   designed to closely track the performance of the Fund’s stated benchmark index, the Russell
24   1000 Value index. This investment strategy is known as “closet indexing.”
25          5.      Closet indexing is an investment strategy used by fund managers who claim to
26   actively purchase and sell investments with the goal of outperforming a benchmark index, but in
27   truth use a strategy designed to closely track the performance of that benchmark. As a result, the
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 1   fund has no real prospect of outperforming the benchmark over time, after accounting for fees
 2   and expenses associated with the purportedly active investment strategy.
 3          6.      Closet indexing is not true active management. The aim of true active
 4   management is to outperform the benchmark.
 5          7.      Instead, Defendants engage in closet indexing to mimic the performance of their
 6   designated benchmark index, even while charging excessive fees for purportedly active
 7   management. These excessive fees virtually ensure that the Fund cannot match its benchmark
 8   over time, let alone outperform it.
 9          8.      As alleged herein, the Fund at issue here has shown precisely such performance
10   characteristics. The Fund has consistently failed to meet or outperform its benchmark index, yet
11   charges management fees that are astronomically higher than passive index funds designed to
12   generate benchmark returns.
13          9.      Defendants’ closet indexing strategy was not disclosed to investors in the Fund’s
14   SEC filings and prospectuses. In this action, Plaintiff seeks to recover damages arising out of
15   Plaintiff’s and the Class’s purchases of the Fund’s shares pursuant to the Fund’s untrue and
16   misleading offering documents.
17          10.     Plaintiff and the Class paid higher fees than they otherwise would have if they
18   had known that the Fund’s managers were engaged in closet indexing. The higher fees were
19   deducted from the Fund’s assets, which directly resulted in the diminution in value of their
20   investments. The Fund’s excessive management fees caused losses to Plaintiff and the Class.
21          11.     Because the conduct complained of herein is continuing in nature, Plaintiff seeks
22   recovery for a period commencing at the earliest date pursuant to the applicable three year statute
23   of limitations, through the date of final judgment after trial (the “Class Period”).
24                                   JURISDICTION AND VENUE
25          12.     This Court has jurisdiction over the subject matter of this action pursuant to 28
26   U.S.C. § 1331 and § 22 of the Securities Act (15 U.S.C. § 77v).
27          13.     The claims asserted herein arise under and pursuant to §§ 11, 12(a)(2) and 15 of
28   the Securities Act (15 U.S.C. §§ 77k, 77l(a)(2) and 77o).

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 1          14.      In connection with the acts complained of, Defendants, directly or indirectly, used
 2   the means and instrumentalities of interstate commerce, including, but not limited to, the mails,
 3   interstate telephone communications and the facilities of the national securities markets.
 4          15.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b). Acts or
 5   omissions that are the subject of this action took place in the State of California.
 6                                               PARTIES
 7          16.      Plaintiff Hays purchased shares of Investor Class TWVLX shares sold by
 8   Defendants during the Class Period, pursuant to one or more of the registration statements and
 9   prospectuses at issue in this Class Action Complaint. See attached Certification Pursuant to the
10   Federal Securities Laws.
11          17.      Defendant American Century Capital Portfolios, Inc. (“ACCP”) is the issuer of
12   the Fund. ACCP is a registered open-end management investment company organized as a
13   Maryland corporation on June 14, 1993. The Fund is a mutual fund within the ACCP series of
14   mutual funds.
15          18.      Defendant American Century Investment Services, Inc. (“ACIS”) is the
16   distributor of the Fund. ACIS is a registered broker-dealer and serves as the underwriter and
17   national distributor for shares of the Fund. ACIS is a wholly owned subsidiary of American
18   Century Companies, Inc. (“ACC”). ACIS is registered to business within the State of California
19   and operates and maintains an office within this District located at 1665 Charleston Road,
20   Mountain View, California 94043.
21          19.      Defendant American Century Investment Management, Inc. (“ACIM”) is an
22   investment advisory firm that provides investment management services to the Fund. ACIM
23   provides such services to the Fund pursuant to a management agreement approved and renewed
24   annually by the board of directors of ACCP, the issuer of the Fund. ACIM is responsible for
25   formulating the Fund’s investment policies and engaging in portfolio transactions. ACIM is
26   registered to business within the State of California and operates and maintains an office within
27   this District located at 1665 Charleston Road, Mountain View, California 94043.
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 1          20.     Defendant Patrick Bannigan was at relevant times the President of ACCP.
 2   Bannigan signed one or more of the registration statements effective during the Class Period.
 3          21.     Defendant Jonathan Thomas was at relevant times a director of ACCP. Thomas
 4   signed one or more of the registration statements effective during the Class Period.
 5          22.     Defendant R. Wes Campbell was at relevant times a director of ACCP. Campbell
 6   signed one or more of the registration statements effective during the Class Period.
 7          23.     Defendant Chris H. Cheesman was at relevant times a director of ACCP.
 8   Cheesman signed one or more of the registration statements effective during the Class Period.
 9          24.     Defendant Rajesh K. Gupta was at relevant times a director of ACCP. Gupta
10   signed one or more of the registration statements effective during the Class Period.
11          25.     Defendant C. Jean Wade was at relevant times a director of ACCP. Wade signed
12   one or more of the registration statements effective during the Class Period.
13          26.     Defendant Thomas W. Bunn was at relevant times a director of ACCP. Bunn
14   signed one or more of the registration statements effective during the Class Period.
15          27.     Defendant Barry Fink was at relevant times a director of ACCP. Fink signed one
16   or more of the registration statements effective during the Class Period.
17          28.     Defendant Andrea C. Hall was at relevant times a director of ACCP. Hall signed
18   one or more of the registration statements effective during the Class Period.
19          29.     Defendant Jan M. Lewis was at relevant times a director of ACCP. Lewis signed
20   one or more of the registration statements effective during the Class Period.
21          30.     Defendant Lynn Jenkins was at relevant times a director of ACCP. Jenkins signed
22   one or more of the registration statements effective during the Class Period.
23          31.     Defendant M. Jeannine Strandjord was at relevant times a director of ACCP.
24   Strandjord signed one or more of the registration statements effective during the Class Period.
25          32.     Defendant John R. Whitten was at relevant times a director of ACCP. Whitten
26   signed one or more of the registration statements effective during the Class Period.
27          33.     Defendant Stephen E. Yates was at relevant times a director of ACCP. Yates
28   signed one or more of the registration statements effective during the Class Period.

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 1           34.      The individual defendants listed in paragraphs 20-33 are sometimes collectively
 2   referred to herein as the “Director Defendants.”
 3           35.      All defendants listed above are collectively referred to herein as “Defendants.”
 4                                  SUBSTANTIVE ALLEGATIONS
 5           I.       Relevant Industry Background.
 6           36.      Investment companies are collective investment vehicles that pool money from
 7   investors to purchase a portfolio of securities. Investors purchase shares in investment
 8   companies, and the shares generally represent a proportionate interest in the company’s portfolio
 9   of securities.
10           37.      Investment companies are widely owned by individual investors and are popular
11   retirement planning tools.
12           38.      As of approximately 2019, there were over 16,000 U.S. registered investment
13   companies with over $20 trillion dollars in net assets, and over 44% of U.S. households owned
14   shares in such investment companies. The three most prevalent types of investment companies
15   are (a) open-end funds, (b) closed-end funds, and (c) exchange-traded funds.
16           39.      Open-end funds, commonly referred to as mutual funds, are the most popular type
17   of investment company. Investors purchase shares in such funds directly from the funds
18   themselves. The funds issue new fund shares to the purchasing investors, and the funds use
19   investors’ money to purchase investment securities.
20           40.      Conversely, when investors wish to sell their open-end fund shares, the funds
21   must redeem the shares directly from the investors at a price determined by the fund based on
22   the current market value of its assets and liabilities (called net asset value, or NAV).
23   Determination of NAV and the issuance and redemption of open-end fund shares generally takes
24   place each business day after the close of trading.
25           41.      Closed-end funds more closely resemble individual corporate stocks. Closed-end
26   funds generally raise capital only once and issue a fixed number of shares. Although this process
27   may be repeated in a limited number of follow-on share offerings, closed-end funds do not
28   engage in the creation and redemption of shares that characterizes open-end funds.

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 1          42.     Closed-end fund shares are listed for trading on a securities exchange. Investors
 2   buy and sell shares and are not purchasing shares directly from the fund as with open-end funds.
 3   Prices are determined by supply and demand for a fund’s shares in the market, not by the net
 4   asset value of the fund’s investments.
 5          43.     Exchange-traded funds, or ETFs, are a more recent invention. They are rapidly
 6   gaining in popularity in large part due to their association with lower fees. ETFs combine features
 7   of traditional open-end funds and features of closed-end funds. ETF shares trade on securities
 8   exchanges and can be bought and sold throughout the day at market-based prices.
 9          44.     However, ETFs do not have a fixed number of shares. Rather, ETF shares may
10   be created or redeemed at any time between the ETF and a financial intermediary, called an
11   authorized participant, or AP, in response to market demand for the ETF’s shares. In this process,
12   the ETF and AP exchange fund shares for a basket of underlying investment securities that
13   comprise the fund’s portfolio.
14          45.     The Fund at issue in this Class Action Complaint is an open-end fund.
15          46.     The principal statutory framework and regulatory regime for investment
16   companies is supplied by the Investment Company Act of 1940. Pursuant to its provisions, an
17   investment company is overseen by a board of directors or trustees that manages the affairs of
18   the company.
19          47.     Unlike other companies, an investment company generally has no employees or
20   facilities of its own. Rather, the investment company’s board contracts with other parties for
21   basic services required to operate the fund.
22          48.     Chief among these fund service providers is the investment advisor (or manager),
23   which manages the fund’s portfolio of securities, researches potential investments, and decides
24   which securities to purchase for or sell from the portfolio.
25          49.     Other fund operations are typically provided separately by distributors,
26   custodians, auditors, accountants, counsel, and transfer agents. All of a fund’s external service
27   providers receive compensation from the fund. The total amount of a fund’s annual expenses is
28   expressed as a percentage of the fund’s assets, and is called the fund’s expense ratio.

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 1          50.       Certain fund services, in particular investment advice, are traditionally
 2   compensated in amounts based on a percentage of the fund’s assets, rather than based on a flat
 3   rate for the services performed, or based on the results delivered to the fund. Such compensation
 4   is typically calculated based on a fund’s net assets.
 5          51.       As a practical matter, investment companies do not operate independently, but
 6   rather operate as parts of fund families or complexes, here, under the banner of American
 7   Century. Like American Century, a typical fund family may consist of several dozen funds, an
 8   investment advisor, and related service providers that are under common control with the
 9   investment advisor. American Century Investments follows this model.
10          52.       Investment advisors and their affiliates create investment companies in order to
11   obtain fees from the funds’ shareholders in exchange for providing services to the funds.
12   Frequently, individuals affiliated with such investment advisors are appointed to serve on the
13   funds’ boards and are appointed as the funds’ officers.
14          53.       Consequently, conflicts of interest are rampant in the relationship between
15   investment advisors and the investment companies they control.
16          54.       Although the board of directors is supposed to serve the interests of the fund and
17   its shareholders, the structure of fund families creates opportunities and incentives for investment
18   advisors and board members to profit by abusing the interests of the fund and its investors.
19          55.       Investment companies generally do not shop around among different investment
20   advisors to obtain the best services at the lowest price. In the ordinary course of business, funds
21   rarely even contemplate changing investment advisors.
22          56.       Historically, the funds’ dependence on their investment advisors has allowed
23   investment advisors to specify the terms of the contractual relationships between them and their
24   captive funds.
25          57.       While it is in the interest of the fund and its shareholders to secure investment
26   advisory fees that are as low as possible, the investment advisor’s interests are the opposite: to
27   secure investment advisory fees that are as high as possible.
28

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 1          II.     Active vs. Passive Management of Mutual Funds.
 2          58.     Mutual funds are generally classified as either actively or passively managed.
 3          59.     Actively managed funds are operated with the objective of producing excess risk-
 4   adjusted returns that outperform a particular market benchmark by carefully choosing stocks that
 5   fit the fund’s investment style and that the fund manager reasonably expects to collectively
 6   outperform the fund’s benchmark.
 7          60.     Index funds, by contrast, are a form of passively managed funds. They are
 8   designed to closely track the performance of a specific benchmark, allowing investors to invest
 9   money knowing that they will get performance roughly equal to the performance of that
10   benchmark index. Instead of a fund portfolio manager actively picking stocks and strategizing
11   over when to buy and sell them, the fund manager builds a portfolio with holdings that mirror
12   the securities that make up a particular index. By mimicking an index profile, the funds will
13   match its performance as well.
14          61.     One primary advantage of index funds is that an index fund has a lower expense
15   ratio, including lower management fees paid to the investment advisor. Since index fund
16   managers are simply replicating the performance of the designated benchmark index, they do
17   not need the services of research analysts and others to pick stocks. Managers of index funds
18   also trade less often, incurring fewer transaction and fees and commissions borne by the fund.
19          62.     By contrast, actively managed funds change their portfolio positions on a regular
20   basis in order to hold securities that, in the fund manager’s view, are likely to outperform their
21   respective benchmarks. The managers of such funds charge higher fees than index funds because
22   of the higher expenses associated with the research necessary to select stocks, and the expenses
23   associated with increased trading activity.
24          63.     Investors purchase actively managed mutual funds in hopes that those mutual
25   funds will outperform the benchmark by a margin that offsets the higher fees.
26          64.     According to a report issued by the Investment Company Institute in March 2020
27   captioned “Trends in the Expenses and Fees of Funds,” the average expense ratio for actively
28   managed equity mutual funds is approximately 0.74 percent.

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 1           65.     In contrast, the average expense ratio for index equity mutual funds is just 0.07
 2   percent, illustrating the dramatic cost differences between active and passive management.
 3           III.    The Value Fund.
 4           66.     The Fund is an open-end management investment company, also known as a
 5   mutual fund, registered under the 1940 Act. The Fund’s inception date is September 1, 1993.
 6           67.     Like other mutual funds, the Fund is a type of collective investment that pools
 7   money from investors and invests it in a portfolio of securities.
 8           68.     The Fund is organized as a series of shares of ACCP, a corporation organized
 9   under Maryland law. The Fund’s shares are sold pursuant to Form N-1A registration statements
10   and prospectuses filed annually under the Securities Act of 1933. These offering documents are
11   filed by ACCP, a registered open-end management investment company.
12           69.     The Fund issues several share classes. Those share classes include the Investor
13   Class (TWVLX), I Class (AVLIX), Y Class (AVUYX), A Class (TWADX), C Class (ACLCX),
14   R Class (AVURX), R5 Class (AVUGX), and R6 Class (AVUDX). Each share class carries
15   different rights, obligations and charges.
16           70.     Total assets of the Fund as of December 31, 2020 were approximately $2.3
17   billion. TWVLX, which is the share class held by Plaintiff, is the Fund’s primary share class,
18   accounting for approximately $1.4 billion of the Fund.
19           71.     The Fund does not have employees or facilities of its own. The Fund’s operations
20   are conducted by external service providers pursuant to contracts with the Fund.
21           72.     The Fund issues shares to investors, such as Plaintiff, who invest money in the
22   Fund, and those investors become shareholders in the Fund. Each share issued by the Fund
23   represents, and may be redeemed for, a pro rata interest in the Fund’s underlying portfolio of
24   securities (less any fees and other liabilities).
25           73.     Each share class carries its own unified management fee, as follows:
26                                        Class              Expense Ratio
27                                      Investor                1.00%
                                            I                   0.80%
28
                                            Y                   0.65%
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 1                                         A                  1.25%
                                           C                  2.00%
 2
                                           R                  1.50%
 3                                        R5                  0.80%
 4                                        R6                  0.65%

 5          74.     During the Class Period, ACIM has been paid tens of millions of dollars in

 6   management fees by the Fund, diminishing its total assets available for investment and returns,

 7   as follows: $30,322,648 (2018), $28,135,345 (2019); and $24,633,585 (2020), with additional

 8   amounts paid during 2021.

 9          IV.     Closet Indexing.

10          75.     As alleged herein, certain mutual funds, including the Fund, claim to be actively

11   managed funds when they are, in truth, closet indexers.

12          76.     Closet indexing is an investment strategy where managers claim to actively select

13   and purchase investments with the goal of beating the fund's declared benchmark index, but in

14   truth seek to closely track the performance of that benchmark. By closely tracking the

15   benchmark, and charging fees and incurring costs associated with “active trading,” closet

16   indexers have no realistic prospect of outperforming that benchmark over time.

17          77.     Investment managers engage in closet indexing because they want to maintain

18   appearances and not lag too far behind their fund benchmarks for fear of losing business, or their

19   jobs, for delivering comparatively poor performance. Closet indexing results in higher fees for

20   investors who pay an active management fee to fund managers who simply pick stocks to track

21   the performance of an index, displaying a false sense of their management abilities.

22          78.     Managers who engage in closet indexing have an incentive to gain returns that

23   are at least similar to the index. Yet closet indexers continue to charge active management fees

24   and incur transaction costs in the purported pursuit of greater returns, to the detriment of

25   investors.

26          79.     Excessive management fees and transaction costs damage investors because such

27   expenses reduce the value of the fund’s portfolio, and therefore its shares. In addition, each dollar

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 1   improperly drained for the payment of excessive management fees and transaction costs also
 2   damages the fund’s return over time because there are fewer dollars available to invest.
 3          V.      Defendants Represent That the Fund is Actively Managed.
 4          80.     The Fund has operated as an open-end mutual fund wherein shares of the Fund
 5   could be purchased only from ACCP in continuous, open-end offerings pursuant to the Fund’s
 6   registration statements. There was no secondary market for the Fund shares.
 7          81.     At any time during the Class Period, investors could redeem their shares or
 8   purchase more shares from the Fund. Thus, each member of the Class purchased shares of the
 9   Fund from ACCP pursuant to and traceable to the Fund’s registration statements.
10          82.     Throughout the Class Period, Defendants annually filed nearly identical
11   registration statements and prospectuses in connection with the continuous offerings of the
12   Fund’s shares. The Fund’s shares were issued to investors pursuant to a series of registration
13   statements and prospectuses made effective during the Class Period.
14          83.     At all relevant times, the Fund’s registration statements and prospectuses
15   represented that the Fund was actively managed fund.
16          84.     According to the registration statement on Form N-1A and prospectus for
17   TWVLX, dated August 1, 2018, the Fund’s principal investment strategies are as follows:
18                  Principal Investment Strategies
19                  In selecting stocks for the fund, the portfolio managers look for
                    companies of all sizes whose stock price may not reflect the
20                  company’s value. The managers attempt to purchase the stocks of
                    these undervalued companies and hold each stock until the price has
21                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
22
                    The fund may invest a portion of its assets in foreign securities when
23                  these securities meet the portfolio managers’ standards of selection.
24                  The portfolio managers may sell stocks from the fund’s portfolio if
                    they believe a stock no longer meets their valuation criteria, a stock’s
25                  risk parameters outweigh its return opportunity, more attractive
                    alternatives are identified or specific events alter a stock’s prospects.
26
27          85.     The August 1, 2018 prospectus included in the 2018 Form N-1A makes the
28   following additional disclosures regarding the Fund’s principal investment strategies:

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 1                 What are the fund’s principal investment strategies?
 2                 The portfolio managers look for stocks of companies of all sizes that
                   they believe are undervalued at the time of purchase. The managers
 3                 use a value investment strategy that looks for companies that are
                   temporarily out of favor in the market. The managers attempt to
 4                 purchase the stocks of these undervalued companies and hold each
                   stock until it has returned to favor in the market and the price has
 5                 increased to, or is higher than, a level the managers believe more
                   accurately reflects the fair value of the company.
 6
                   Companies may be undervalued due to market declines, poor
 7                 economic conditions, actual or anticipated bad news regarding the
                   issuer or its industry, or because they have been overlooked by the
 8                 market. To identify these companies, the portfolio managers look for
                   companies with earnings, cash flows and/or assets that may not be
 9                 reflected accurately in the companies’ stock prices or may be outside
                   the companies’ historical ranges. The managers also may consider
10                 whether the companies’ securities have a favorable income-paying
                   history and whether income payments are expected to continue or
11                 increase. Since the fund invests in companies of all sizes on an
                   ongoing basis, it may be best characterized as a multi-capitalization
12                 value fund.
13                 The portfolio managers may sell stocks from the fund’s portfolio if
                   they believe: a stock no longer meets their valuation criteria; a stock’s
14                 risk parameters outweigh its return opportunity; more attractive
                   alternatives are identified; or specific events alter a stock’s prospects.
15
                   The portfolio managers do not attempt to time the market. Instead,
16                 under normal market conditions, they intend to keep the fund’s assets
                   invested primarily in U.S. equity securities at all times regardless of
17                 the movement of stock prices generally.
18                 Equity securities include common stock, preferred stock, and
                   equity-equivalent securities, such as convertible securities, stock
19                 futures contracts or stock index futures contracts.
20          86.    The August 1, 2018 Form N-1A was signed by Defendants Thomas, Wade, Bunn,
21   Fink, Hall, Lewis, Strandjord, Whitten, and Yates.
22          87.    According to the registration statement on Form N-1A and prospectus for
23   TWVLX, dated August 1, 2019, the Fund’s principal investment strategies are as follows:
24                 Principal Investment Strategies
25                 In selecting stocks for the fund, the portfolio managers look for
                   companies of all sizes whose stock price may not reflect the
26                 company’s value. The managers attempt to purchase the stocks of
                   these undervalued companies and hold each stock until the price has
27                 increased to, or is higher than, a level the managers believe more
                   accurately reflects the fair value of the company.
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 1                  The fund may invest a portion of its assets in foreign securities when
                    these securities meet the portfolio managers’ standards of selection.
 2
                    The portfolio managers may sell stocks from the fund’s portfolio if
 3                  they believe a stock no longer meets their valuation criteria, a stock’s
                    risk parameters outweigh its return opportunity, more attractive
 4                  alternatives are identified or specific events alter a stock’s prospects.
 5          88.     The August 1, 2019 prospectus included in the 2019 Form N-1A makes the
 6   following additional disclosures regarding the Fund’s principal investment strategies:
 7                  What are the fund’s principal investment strategies?
 8                  The portfolio managers look for stocks of companies of all sizes that
                    they believe are undervalued at the time of purchase. The managers
 9                  use a value investment strategy that looks for companies that are
                    temporarily out of favor in the market. The managers attempt to
10                  purchase the stocks of these undervalued companies and hold each
                    stock until it has returned to favor in the market and the price has
11                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
12
                    Companies may be undervalued due to market declines, poor
13                  economic conditions, actual or anticipated bad news regarding the
                    issuer or its industry, or because they have been overlooked by the
14                  market. To identify these companies, the portfolio managers look for
                    companies with earnings, cash flows and/or assets that may not be
15                  reflected accurately in the companies’ stock prices or may be outside
                    the companies’ historical ranges. The managers also may consider
16                  whether the companies’ securities have a favorable income-paying
                    history and whether income payments are expected to continue or
17                  increase. Since the fund invests in companies of all sizes on an
                    ongoing basis, it may be best characterized as a multi-capitalization
18                  value fund.
19                  The portfolio managers may sell stocks from the fund’s portfolio if
                    they believe: a stock no longer meets their valuation criteria; a stock’s
20                  risk parameters outweigh its return opportunity; more attractive
                    alternatives are identified; or specific events alter a stock’s prospects.
21
                    The portfolio managers do not attempt to time the market. Instead,
22                  under normal market conditions, they intend to keep the fund’s assets
                    invested primarily in U.S. equity securities at all times regardless of
23                  the movement of stock prices generally.
24                  Equity securities include common stock, preferred stock, and
                    equity-equivalent securities, such as convertible securities, stock
25                  futures contracts or stock index futures contracts.
26          89.     The August 1, 2019 Form N-1A was signed by Defendants Thomas, Campbell,
27   Bunn, Cheesman, Fink, Gupta, Jenkins, Lewis, Whitten and Yates.
28

     CLASS ACTION COMPLAINT                           13
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 1          90.     According to the registration statement on Form N-1A and prospectus for
 2   TWVLX, dated August 1, 2020, the Fund’s principal investment strategies are as follows:
 3                  Principal Investment Strategies
 4                  In selecting stocks for the fund, the portfolio managers look for
                    companies of all sizes whose stock price may not reflect the
 5                  company’s value. The managers attempt to purchase the stocks of
                    these undervalued companies and hold each stock until the price has
 6                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
 7
                    The fund may invest a portion of its assets in foreign securities when
 8                  these securities meet the portfolio managers’ standards of selection.
 9                  The portfolio managers may sell stocks from the fund’s portfolio if
                    they believe a stock no longer meets their valuation criteria, a stock’s
10                  risk parameters outweigh its return opportunity, more attractive
                    alternatives are identified or specific events alter a stock’s prospects.
11
12          91.     The August 1, 2020 prospectus included in the 2020 Form N1-A makes the
13   following additional disclosures regarding the Fund’s principal investment strategies:
14                  What are the Fund’s Principal Investment Strategies?
15                  The portfolio managers look for stocks of companies of all sizes that
                    they believe are undervalued at the time of purchase. The managers
16                  use a value investment strategy that looks for companies that are
                    temporarily out of favor in the market. The managers attempt to
17                  purchase the stocks of these undervalued companies and hold each
                    stock until it has returned to favor in the market and the price has
18                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
19
                    Companies may be undervalued due to market declines, poor
20                  economic conditions, actual or anticipated bad news regarding the
                    issuer or its industry, or because they have been overlooked by the
21                  market. To identify these companies, the portfolio managers look for
                    companies with earnings, cash flows and/or assets that may not be
22                  reflected accurately in the companies’ stock prices or may be outside
                    the companies’ historical ranges. The managers also may consider
23                  whether the companies’ securities have a favorable income-paying
                    history and whether income payments are expected to continue or
24                  increase. Since the fund invests in companies of all sizes on an
                    ongoing basis, it may be best characterized as a multi-capitalization
25                  value fund.
26                  The portfolio managers may sell stocks from the fund’s portfolio if
                    they believe: a stock no longer meets their valuation criteria; a stock’s
27                  risk parameters outweigh its return opportunity; more attractive
                    alternatives are identified; or specific events alter a stock’s prospects.
28

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 1                  The portfolio managers do not attempt to time the market. Instead,
                    under normal market conditions, they intend to keep the fund’s assets
 2                  invested primarily in U.S. equity securities at all times regardless of
                    the movement of stock prices generally.
 3
                    Equity securities include common stock, preferred stock, and
 4                  equity-equivalent securities, such as convertible securities, stock
                    futures contracts or stock index futures contracts.
 5
 6          92.     The August 1, 2020 Form N-1A was signed by Defendants Bannigan, Campbell,
 7   Bunn, Cheesman, Fink, Gupta, Jenkins, Lewis, Thomas, Whitten and Yates.
 8          93.     According to the registration statement on Form N-1A and prospectus for
 9   TWVLX, dated August 1, 2021, the Fund’s principal investment strategies are as follows:
10                  Principal Investment Strategies
11                  In selecting stocks for the fund, the portfolio managers look for
                    companies of all sizes whose stock price may not reflect the
12                  company’s value. The managers attempt to purchase the stocks of
                    these undervalued companies and hold each stock until the price has
13                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
14
                    The fund may invest a portion of its assets in foreign securities when
15                  these securities meet the portfolio managers’ standards of selection.
16                  The portfolio managers may sell stocks from the fund’s portfolio if
                    they believe a stock no longer meets their valuation criteria, a stock’s
17                  risk parameters outweigh its return opportunity, more attractive
                    alternatives are identified or specific events alter a stock’s prospects.
18
19          94.     The August 1, 2021 prospectus included in the 2021 Form N1-A makes the
20   following additional disclosures regarding the Fund’s principal investment strategies:
21                  What are the Fund’s Principal Investment Strategies?
22                  The portfolio managers look for stocks of companies of all sizes that
                    they believe are undervalued at the time of purchase. The managers
23                  use a value investment strategy that looks for companies that are
                    temporarily out of favor in the market. The managers attempt to
24                  purchase the stocks of these undervalued companies and hold each
                    stock until it has returned to favor in the market and the price has
25                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
26
                 Companies may be undervalued due to market declines, poor
27               economic conditions, actual or anticipated bad news regarding the
                 issuer or its industry, or because they have been overlooked by the
28               market. To identify these companies, the portfolio managers look for
                 companies with earnings, cash flows and/or assets that may not be
     CLASS ACTION COMPLAINT                       15
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                    reflected accurately in the companies’ stock prices or may be outside
 1                  the companies’ historical ranges. The managers also may consider
                    whether the companies’ securities have a favorable income-paying
 2                  history and whether income payments are expected to continue or
                    increase. The portfolio managers use a variety of analytical research
 3                  tools and techniques, including the integration of environmental,
                    social, and governance (“ESG”) risks and opportunities, to help them
 4                  buy or hold securities of companies that meet their investment criteria
                    and sell the securities of companies that do not. Since the fund invests
 5                  in companies of all sizes on an ongoing basis, it may be best
                    characterized as a multi-capitalization value fund.
 6
                    The portfolio managers may sell stocks from the fund’s portfolio if
 7                  they believe: a stock no longer meets their valuation criteria; a stock’s
                    risk parameters outweigh its return opportunity; more attractive
 8                  alternatives are identified; or specific events alter a stock’s prospects.
 9                  The portfolio managers do not attempt to time the market. Instead,
                    under normal market conditions, they intend to keep the fund’s assets
10                  invested primarily in U.S. equity securities at all times regardless of
                    the movement of stock prices generally.
11
                    Equity securities include common stock, preferred stock, and
12                  equity-equivalent securities, such as convertible securities, stock
                    futures contracts or stock index futures contracts.
13
14          95.     The August 1, 2021 Form N-1A was signed by Defendants Bannigan, Campbell,
15   Bunn, Cheesman, Fink, Gupta, Jenkins, Lewis, Thomas, Whitten and Yates.
16          96.     Similarly, the August 1, 2018, 2019, and 2020 “summary” prospectuses make the
17   following disclosures regarding the Fund’s principal investment strategies:
18                  Principal Investment Strategies
19                  In selecting stocks for the fund, the portfolio managers look for
                    companies of all sizes whose stock price may not reflect the
20                  company’s value. The managers attempt to purchase the stocks of
                    these undervalued companies and hold each stock until the price has
21                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company.
22
                    The fund may invest a portion of its assets in foreign securities when
23                  these securities meet the portfolio managers’ standards of selection.
24                  The portfolio managers may sell stocks from the fund’s portfolio if
                    they believe a stock no longer meets their valuation criteria, a stock’s
25                  risk parameters outweigh its return opportunity, more attractive
                    alternatives are identified or specific events alter a stock’s prospects.
26
27          97.     The August 1, 2021 “summary” prospectuses make the following disclosures
28   regarding the Fund’s principal investment strategies:

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 1                  Principal Investment Strategies
 2                  In selecting stocks for the fund, the portfolio managers look for
                    companies of all sizes whose stock price may not reflect the
 3                  company’s value. The managers attempt to purchase the stocks of
                    these undervalued companies and hold each stock until the price has
 4                  increased to, or is higher than, a level the managers believe more
                    accurately reflects the fair value of the company. The portfolio
 5                  managers use a variety of analytical research tools and techniques,
                    including the integration of environmental, social, and governance
 6                  (“ESG”) risks and opportunities, to help them buy or hold securities
                    of companies that meet their investment criteria and sell the securities
 7                  of companies that do not.
 8                  The fund may invest a portion of its assets in foreign securities when
                    these securities meet the portfolio managers’ standards of selection.
 9
                    The portfolio managers may sell stocks from the fund’s portfolio if
10                  they believe a stock no longer meets their valuation criteria, a stock’s
                    risk parameters outweigh its return opportunity, more attractive
11                  alternatives are identified or specific events alter a stock’s prospects.
12           98.    As the foregoing disclosures demonstrate, the Fund’s purported investment

13   strategy is one involving active management. Specifically, the offering documents represent to

14   investors that the managers perform an analysis and valuation of an individual company when

15   deciding whether to buy or sell the company’s stock.

16           VI.    The Fund’s Stated Investment Strategy Was Untrue and Misleading.

17           99.    The true strategy employed by Defendants is to buy and sell stock in order to

18   ensure that the Fund closely tracks the performance of the Russell 1000 Value index. Such an

19   investment strategy is not active management because an investor could achieve the same

20   performance by simply holding a passive fund following the Russell 1000 Value index.

21           100.   Contrary to its representations, in managing the Fund throughout the Class

22   Period, Defendants implemented a closet indexing strategy. As a result, the Fund’s performance

23   throughout the Class Period has barely strayed from the movement of its benchmark.

24           101.   In fact, the Fund’s own disclosures demonstrate that it has historically failed to

25   even match the Russell 1000 Value index over extended periods, let alone outperform it on a

26   consistent basis – which is the entire rationale for active management (and higher fees) in the

27   first place.

28

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 1          102.    In its 2021 annual report dated March 31, 2021, the Fund published the following
 2   graph showing that for the preceding decade, the Fund’s Investor class closely tracked the
 3   movements of (yet has underperformed) the Russell 1000 Value index:
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18          103.    The performance of the Fund relative to the Russell 1000 Value index is further
19   illustrated by the Fund’s R-Squared metric as disclosed on its Quarterly Fact Sheet, dated
20   September 30, 2021.
21          104.    R-squared is a statistical calculation generally interpreted as the percentage of a
22   fund’s movements that can be explained by movements in a benchmark index. If a fund has an
23   R-Squared value of 0.9 relative to its benchmark, that indicates that 90% of the variance of the
24   fund is explained by the variance of its benchmark index.
25          105.    As of September 30, 2021, the Fund reported an R-Squared of 0.97, or 97%, over
26   the preceding three year period, meaning that the strength of the relationship between the Fund
27   and its benchmark, the Russell 1000 Value index, is very high. Such a strong relationship
28

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 1   indicates that the investment advisor’s investment strategy is adding little or no value to the
 2   Fund’s performance.
 3          106.    The performance of the Fund relative to the Russell 1000 Value index is further
 4   illustrated by the Fund’s Alpha metric as disclosed on its Quarterly Fact Sheet, dated September
 5   30, 2021.
 6          107.    Alpha is a metric that measures the value a portfolio manager adds to or subtracts
 7   from a fund’s portfolio return. If a fund has an Alpha of 1.0, it generally means that the fund
 8   outperforms its benchmark index by 1%.
 9          108.      As of September 30, 2021, the Fund reported an Alpha metric over the preceding
10   three year period of -1.57 (annualized), meaning that the Fund significantly and consistently
11   underperforms against the index. This metric further illustrates that the investment advisor’s
12   investment strategy is adding no value to the Fund’s performance.
13          109.    The September 30, 2021 Quarterly Fact Sheet further illustrates that the Fund has
14   underperformed against the index over the preceding three year period by almost a full
15   percentage point, with a 10.06 return for the index versus 9.08 for the Fund.
16          110.    The Fund’s performance over time illustrates that Defendants’ investment
17   strategy has been based on closet indexing, not active management.
18          111.    Defendants’ closet indexing strategy was not true active management because the
19   Fund did not have a reasonable prospect of outperforming its benchmark index over time (and,
20   in fact, has not outperformed its benchmark index over the last 3 years of the Fund’s existence)
21   once Defendants’ management fees are taken into account.
22          112.    Indeed, for the last 10 years, the Fund has only barely outperformed the Russell
23   1000 Value index in three reporting periods, even while ACIM is and was paid tens of millions
24   of dollars in management fees for the specific purpose of outperforming the benchmark index:
25                          Investor Class Annual Performance 2012-YTD
26
                        2012   2013    2014   2015    2016   2017   2018    2019     2020   2021
27
           Fund (%)     14.55 31.10 12.89 -4.34 20.22         8.47 -9.35 26.88       0.65 17.93
28
           Index (%) 17.51 32.53 13.45 -3.83 17.34 13.66 -8.27 26.54                 2.80 16.14

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 1          113.    Defendants’ implementation and use of closet indexing means that Defendants
 2   managed the Fund in a manner that was materially different than or contrary to its stated
 3   investment strategies. Closet indexing, which is not a true active investment strategy, did not
 4   justify the Defendants’ receipt of the excess management fees out of the Fund’s assets.
 5          114.    The Fund’s registration statements and prospectuses did not disclose a material
 6   risk associated with the closet indexing investment strategy, namely that all or a substantial
 7   portion of the Fund’s returns are linked to the benchmark index.
 8          115.    In addition, the closet indexing strategy involved Defendants trading in and out
 9   stocks in order to keep the Fund’s overall portfolio highly correlated with the benchmark, which
10   trading activity also served to conceal that Defendants pursued what was effectively a passive
11   strategy, because a fund could closely track the performance of an index by passively holding
12   the constituent securities that make up the index.
13          116.    At all material times, Defendants’ trading activity was significantly greater than
14   the trading activity that occurred in passive index funds that tracked the same underlying
15   benchmark as the Fund.
16          117.    As a result of the more frequent trading associated with closet indexing strategy,
17   excess trading costs were paid out of the Fund’s assets, further damaging investors.
18          118.    The higher fees were deducted from the Fund’s assets, which directly resulted in
19   a diminution of the value of their investments.
20                                CLASS ACTION ALLEGATIONS
21          119.    Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal
22   Rules of Civil Procedure on behalf of all persons or entities who purchased or otherwise acquired
23   shares of each share class of the Fund in continuous offerings pursuant to registration statements
24   and prospectuses for the Fund filed during the Class Period and were damaged thereby.
25          120.    Excluded from the Class are Defendants and their immediate families; the officers
26   and directors of the Fund, at all relevant times; any firm, trust, corporation, or other entity in
27   which any defendant has or had a controlling interest; and the legal representatives, affiliates,
28   heirs, successors-in-interest, or assigns of any such excluded person or entity.

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 1           121.      The members of the Class are so numerous that joinder of all members is
 2   impracticable. While the exact number of Class members is unknown to Plaintiff at this time and
 3   can only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds
 4   or thousands of members in the proposed Class.
 5           122.      Record owners and other members of the Class may be identified from records
 6   maintained by the Fund or its agents and may be notified of the pendency of this action by mail,
 7   using the form of notice similar to that customarily used in securities class actions.
 8           123.      Common questions of law and fact predominate across each of the Fund’s share
 9   classes and include: (a) whether Defendants violated the Securities Act; (b) whether Defendants
10   omitted and/or misrepresented material facts; (c) whether the Fund was closet indexed; (d)
11   whether the management fees were excessive; and (e) the extent and appropriate measure of
12   damages.
13           124.      Plaintiff’s claims are typical of the claims of the members of the Class as all
14   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
15   federal law that is complained of herein.
16           125.      Plaintiff will fairly and adequately protect the interests of the members of the
17   Class and has retained counsel competent and experienced in class action and securities
18   litigation.
19           126.      A class action is superior to all other available methods for the fair and efficient
20   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as
21   the damages suffered by individual Class members may be relatively small, the expense and
22   burden of individual litigation make it impossible for members of the Class to individually
23   redress the wrongs done to them. There will be no difficulty in the management of this action as
24   a class action.
25                                         CLAIMS FOR RELIEF
26                                               COUNT I
                                 For Violation of § 11 of the Securities Act
27                      Against ACCP, ACIS, the Director Defendants and Bannigan
28           127.      Plaintiff repeats and realleges each and every allegation contained above.

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 1          128.    This Count is brought pursuant to § 11 of the Securities Act on behalf of Plaintiff
 2   and the Class against ACCP, ACIS, the Director Defendants and Bannigan.
 3          129.    The registration statements alleged herein were inaccurate and misleading,
 4   contained untrue statements of material fact, omitted to state other facts necessary to make the
 5   statements made not misleading, and omitted to state material facts required to be stated therein.
 6          130.    ACCP is the registrant for the shares of the Fund, and as such is strictly liable for
 7   the false statements contained in the registration statements.
 8          131.    ACIS, as the Fund’s distributor, and the Director Defendants and Bannigan who
 9   signed the registration statements, were responsible for the contents and dissemination of the
10   registration statements.
11          132.    None of the Defendants named herein made a reasonable investigation or
12   possessed reasonable grounds for the belief that the statements contained in the registration
13   statements were true and without omissions of any material facts and were not misleading.
14          133.    By reasons of the conduct herein alleged, each Defendant violated, and/or
15   controlled a person who violated, § 11 of the Securities Act.
16          134.    Plaintiff acquired shares of the Fund during the Class Period and pursuant to the
17   registration statements.
18          135.    Plaintiff and the Class have sustained damages.
19          136.    At the time she purchased shares of the Fund, Plaintiff and other members of the
20   Class were without knowledge of the facts concerning the wrongful conduct alleged herein.
21                                            COUNT II
                            For Violation of §12(a)(2) of the Securities Act
22                                      Against All Defendants
23          137.    Plaintiff repeats and realleges each and every allegation contained above.
24          138.    This Count is brought pursuant to § 12(a)(2) of the Securities Act on behalf of
25   Plaintiff and the Class against all Defendants.
26          139.    Defendants were sellers and offerors and/or solicitors of purchases of the shares
27   of the Fund offered pursuant to the registration statements, prospectuses and other offering
28   documents.

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 1          140.    The prospectuses contained untrue statements of material fact, omitted to state
 2   other facts necessary to make the statements made not misleading, and omitted to state material
 3   facts required to be stated therein.
 4          141.    Defendants’ actions of solicitation included participating in the preparation of the
 5   false and misleading prospectuses and participating in marketing the shares of the Fund to
 6   investors.
 7          142.    Defendants owed to the purchasers of Fund shares, including Plaintiff and other
 8   Class members, the duty to make a reasonable and diligent investigation of the statements
 9   contained in the prospectuses and corresponding supplements and amendments to ensure that
10   such statements were true and that there was no omission to state a material fact required to be
11   stated in order to make the statements contained therein not misleading.
12          143.    Defendants, in the exercise of reasonable care, should have known of the
13   misstatements and omissions contained in the prospectuses as set forth above.
14          144.    Plaintiff and other members of the Class purchased or otherwise acquired shares
15   of the Fund pursuant to the defective prospectuses.
16          145.    Plaintiff and the other members of the Class did not know, nor in the exercise of
17   reasonable diligence could they have known, of the untruths and omissions contained in the
18   offering documents for the Fund.
19          146.    By reason of the conduct alleged herein, Defendants violated, and/or controlled a
20   person who violated, § 12(a)(2) of the Securities Act.
21          147.    Accordingly, Plaintiff and members of the Class who hold shares of the Fund
22   have the right to rescind and recover the consideration paid for their shares of the Fund and
23   hereby elect to rescind and tender those shares to the Defendants sued herein.
24          148.    Plaintiff and Class members who have sold their shares of the Fund are entitled
25   to rescissory damages.
26                                           COUNT III
                              For Violation of § 15 of the Securities Act
27                       Against ACIM, the Director Defendants and Bannigan
28          149.    Plaintiff repeats and realleges each and every allegation contained above.

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 1           150.    This Count is brought pursuant to § 15 of the Securities Act on behalf of Plaintiff
 2   and the Class against ACIM, the Director Defendants and Bannigan.
 3           151.    ACIM managed and controlled the business affairs of the Fund and was a control
 4   person of the Fund. ACIM and its directors and/or officers each had a series of direct and/or
 5   indirect business and/or personal relationships with the directors and/or officers and/or major
 6   shareholders of the Fund.
 7           152.    Each of the Director Defendants and Bannigan was a control person of the Fund
 8   by virtue of his position as a director and/or senior officer of the Fund, ACCP or ACIM.
 9           153.    These Defendants each had a series of direct and/or indirect business and/or
10   personal relationships with other directors and/or officers and/or major shareholders of the Fund.
11           154.    Each of these Defendants had the ability to control the process which allowed the
12   sale of the shares of the Fund to be successfully completed.
13           155.    By reason of such conduct, the defendants named in this Count are liable pursuant
14   to §15 of the Securities Act.
15                                       PRAYER FOR RELIEF
16           WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for judgment and
17   relief as follows:
18                   (a)    declaring this action to be a proper class action, designating Plaintiff as
19   Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal Rules
20   of Civil Procedure and designating Plaintiff’s counsel as Lead Counsel;
21                   (b)    awarding damages in favor of Plaintiff and the other Class members
22   against all Defendants, jointly and severally, together with interest thereon;
23                   (c)    awarding Plaintiff and the Class reasonable costs and expenses incurred in
24   this action, including counsel fees and expert fees; and
25                   (d)    awarding Plaintiff and other members of the Class such other and further
26   relief as the Court may deem just and proper.
27                                    DEMAND FOR JURY TRIAL
28           Plaintiff hereby demands a trial by jury.

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 1   Dated: November 5, 2021          SCHUBERT JONCKHEER & KOLBE LLP
 2                                    /s/ Willem F. Jonckheer
                                      ROBERT C. SCHUBERT (S.B.N. 62684)
 3                                    WILLEM F. JONCKHEER (S.B.N. 178748)
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21                                    Counsel for Plaintiff Vera A. Hays
22
23
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28

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Date         Transaction Type        Quantity           Unit Price
12/12/18     Buy                     42.858             $7.68
12/12/18     Buy                     371.947            $7.68
12/21/18     Buy                     25.348             $7.19
03/20/19     Buy                     24.262             $8.20
06/19/19     Buy                     21.947             $8.14
07/15/19     Sell                    15.343             $8.37
07/15/19     Sell                    71.298             $8.37
07/15/19     Sell                    10.075             $8.37
07/15/19     Sell                    62.255             $8.37
07/15/19     Sell                    19.329             $8.37
07/15/19     Sell                    4.456              $8.37
07/15/19     Sell                    4.837              $8.37
07/15/19     Sell                    14.579             $8.37
07/15/19     Sell                    12.882             $8.37
09/18/19     Buy                     20.333             $8.42
10/23/19     Buy                     7.235              $7.79
10/23/19     Buy                     51.009             $7.79
10/23/19     Buy                     306.671            $7.79
12/23/19     Buy                     12.609             $8.44
12/23/19     Buy                     4.569              $8.44
03/11/20     Buy                     29.431             $6.59
06/17/20     Buy                     27.593             $7.05
09/23/20     Buy                     28.528             $6.91
12/23/20     Buy                     24.522             $8.04
12/23/20     Buy                     22.958             $8.04
12/23/20     Buy                     65.285             $8.04
03/24/21     Buy                     20.094             $9.09
06/23/21     Buy                     24.021             $9.58
09/22/21     Buy                     23.277             $9.35
